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Filed 12/05/12 Page 1 of 13 Page |D #:15

  

JAMEY DEON J]]\rlERSON

 

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E-man: ]netnlan$(&,gmall.com j g
a'¢/
Plaintiff in Pro Per
AMEY DEoN JIMERSON

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

JAMEY DE()N JlMERS()N Case NO.:
, an individual
`COMPLAINT FOR:
Plaintiff,
vs 1) VlALATION OF THE FAIR
‘ CREDIT REPORTING ACT
FCRA{ [15 U.S.C. §1681b]`§3)
FBS CARD SERVICE INC., a A ngglllli LIABILIT
. _ . . R
corporatlon, and DOES 1 10, lncluslve, NHSNICOMPLIANCE [15 U.S.C.
Defendants. § n]'
cuzm<, u.sLl)D[ig"FFElGT OOUF‘T
DEMAND FOR JURY TRIAL
NOV 3 0 20\2

 

 

 

 

 

EYM ' n MPLAINT

Come now PLAINTIFF JAMEY DEON JIMERSON, an individual, and complain

 

and allege against Defendants, FBS CARD SERVICE INC., and DOE

DEFENDANTS 1 through 10 as follows:

VENUE AND JURISQ_ ICTION

to (FCRA) 15 U_s.C §1681 erseq.

  
  

 

 
 

1. Th

is action is brought pursuant

      
 

 

 

Page 1

C()MPLAINT

 

 

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2. Jurisdiction is founded on 15 U.S.C. § 1681p Statutory Provisions of the
FCRA. Venue is proper in the Central District of California. The injuries occurred
within the County of Los Angeles City of Pomona California.

COMMON ALLEGATIONS

3. At all relevant times mentioned in this complaint, Plaintiff was a resident of
the County of Los Angeles, State of California.

4. At all times mentioned herein, Defendants were not licensed to do business
i_n the County of Los Angeles, State of Ca]ifornia.

5. At all times mentioned herein, FBS CARD SERVICE [NC. is a private
corporate business entity( hereinafter referred to as “FBS”)

6. Plaintiff is ignorant of the true names and a capacity of those Defendants
sued herein as DOES 1 through 10 inclusive, and therefore sues them by such
fictitious names. Plaintiff will amend this Complaint to show the true names and
capacities of said DOE Defendants when the same are ascertained

7. Plaintiff is informed and believes and, based upon such information and
belief, alleges that the Defendants through their actions are responsible in some
manner for the events and happenings referred to herein and such actions are the

legal cause of statutory injury to the Plaintiff as herein alleged.

 

COMPLA]NT Page 2

 

 

 

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8. Plaintiff is informed and believes and, based upon such information and
belief, alleges that, at all times herein mentioned, each and every Defendant was
not authorized to conduct business in the County of Los Angeles and the State of
Californja. At all times relevant hereto, said DEFENDANTS were not acting
within the scope of a business license within the County of Los Angeles and State
of California.

9. At all times relevant hereto DEFENDANTS employed organized unlawful
customs, illegal practices of privacy violations, making inaccurate statements in
correspondence, illegally obtaining personal information and intentionally causing
emotional distress upon the PLAlNTIFF. Said misconduct was known by,
encouraged, tolerated and or condoned by DEFENDANTS, all.

10. This action arises from statutory damages sustained by the Plaintiff as a
result of the inquiry on his consumer credit report by Defendant “FBS” and each of
them all.

11. Plaintiff received a copy of his “EQUIFAX consumer credit report” on
February 09, 2012.

12. Alter reviewing the EQUIFAX consumer credit report Plaintiff noticed an
unauthorized inquiry by Defendant “FBS” ON June 06, 2007.

13. Said “EQUIFAX consumer credit report” is attached to the complaint as

exhibit “A”.

 

COMPLAINT Page 3

 

 

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14.Upon review of his EQUIFAX consumer report Plaintiff holds that
Defendant “FBS” is not a verifiable creditor of the PLAINTIFF, and
DEFENDANT “FBS” neither is nor was retained by any verifiable creditor of the
PLAlNTIFF. DEFENDANT “FBS” does not have a permissible purpose allotted
under the law.

15. Plaintiff then became aware that DEFENDANT “FBS” at the time of the
inquiry was not and is not presently authorized to conduct business in the County
of Los Angeles, State of California.

B_S_T CALJ§E OF ACTI(_)_l§

VIALATION OF THE FAIR CREDIT REPORTING ACT {FCRA[ |15

U.S.C. 516811)1 (3) (A) AND CIVIL LlAl_}ILITY FOR WILLFUL

NONCOMPLIANCE |15 U.S.C. §1681n|.

Against All Defendants
16. Paragraphs 1 through 15 is realleged as though fully set forth herein.

17. Plaintiff re-alleges, adopts and incorporates as if set forth at length hereat
and to the extent applicable, paragraphs 1 through 16 above.

18. ln doing the things set forth above, the Defendants, and each of them,
violated rights of the PLAINTIFF; against inaccurate and unfair credit reporting as

guaranteed by the F air Credit Reporting Act (FCRA), 15 U.S.C. §1681_

 

COMPLAINT Page ‘

 

 

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19. As set forth above, those violations include, but are not limited to,
impermissible purpose in requesting the consumer credit report of the PLAINTIFF
from EQUIFAX, a credit reporting agency; lnaccurate reporting of a presumed
credit transaction collectible by Defendant “FBS”; Adverse action resulting in
unfavorable changes to the consumer credit report of the PLAINTIFF. This
company is presumed to have competent knowledge of the permissible purpose
requirements of the Fair Credit Reporting Act. Obtaining the consumer report of
the Plaintiff in this manner presumes this action as a part in a pattern of willful non
compliance

20. As a proximate result of the actions of Defendant “FBS”, and each of them
all, Plaintiff was caused to endure unfavorable credit reporting and judgment from
that inaccurate reporting which was a possible debt owed presumed to be
collectable by Defendant “FBS”, and each of them all. Plaintiff was also caused an
unfair breach in the privacy afforded to the Plaintiff under the law. Other relevant
damages incurred by the Plaintiff will be more specifically proven at trial.

21. As a proximate result of the actions of Defendant “FBS”, and each of them
all, Plaintiff has been injured in mind and body as well as financially all in a value
determined by proof at trial.

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COMPLAINT Page 5

 

 

 

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PRAYER

Defendants as follows:

AS TO THE FIRST CAUSE OF ACTION

1. Statutory damages in an amount to be determined by proof at trial;
2. Attorney’s Fees and Costs of litigation pursuant to §42 U.S.C. 1988;

3. Interest according to law; and

Court deems just and proper.

Dated: November 30, 2012

lase 2:12-cV-10275-RGK-CW Document 3 Filed 12/05/12 Page 6 of 13 Page |D #:2(

WHEREFORE, Plaintiff requests a tn`al by jury and prays judgment against the

4. Any other and further relief that the Plaintiff may be entitled to and the

 

 

COMPLAI NT

 

 

 

 

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I am a PLAINTIFF in this action. l have read the foregoing allegations in the
complaint The matters stated in the complaint are true of my own knowledge
except those matters stated on information and belief, and as to those matters 1

believe them to be true.

I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct

Date: November 30, 2012

[JAMEY DEON JIMERSON]

DEMAND FOR JURY TRIAL

PLAINTIFF JAMEY DEON JIMERSON, hereby respectfully demands that

the present matter be set for a jury trial.

Dated: November 30, 2012

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` ff in Pro Per

   

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Case 2: 12- -c\/- 10275- RGK- CW Document 3 Filed 12/05/12 Page 9 of 13 Page |

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' Date Past l Credit
\e Accounf Number Opened Balance Reported Due Status 1 Limit
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2008 * _31:_> 60 * * * 30 * * 30 30
2007 * __ iv 1 n t 1 t s1 * s1- i *
`2006 * t 11 n 1~ t 11 i- 1- * t n ir
US BANK 403784001079XXXX 061'2007 $0 0512009 120+ DAYS $5.000
PAST DUE
FBS CARD SERVICE
¢;1.' 1 -" /“7¢-' --
Po eox 9437 *.i-.».---fp
Minneapc|is, NlN-554409487
§Account Number: 403784001079XXXX Staqu.' 120+ DAYS
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lType of Account l RevoMng credit umit $5.000
Term Duration: Tern'e Frequehcy:
Date Opened: 06/2007 Ba|ance.' $0
Date Reported: 05/2009 Amount Past Due:
Date of Last Payment 1112/2009 Actua| PaymentAmount:
Sched_uled 13aymen_t Amount: _Date of LastAct\mty N/A
Date lillajor Dellnquency First Months Reviewed: 23
_Re_p_ortecl _ 7
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Ba|loon PaymentAmount§ Ba||oon¢l:layment D_ate: §
Date C|osed: Type of Loan: Credit Card
Date of First De|inquency: 011'2008
Corn'nents:
81-Month Payment History
§Year Jan §Feb §N|ar §Apr §May §Jun §Ju| §Aug §Sep §Oct §Nov §Dec §
§2009 CO CO * *
§2008 CO * * * " * 150 * CO CO CO CO
12007 * * * I- * * k
Back to Top

Other Accounts

These are all accounts that do not fall into the other categories and can include 313-day accounts such

as American Express.

Closed Accounts

Account Name Account Number

PORTFOL|O U S

Date
Opened

02!2009

Date
Past
Ba|ance §epgrted Due
$7,317 011'2012 $7,317

Status

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Credit
Limit

Case 2:12-cV-1O275-RGK-CW Document 3 Filed 12/05/12 Page 10 01 13 Page lD #:24

UNITED STATES DISTRICT CoURT
CENTRAL DISTRICT oF cALIFoRNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

v This case has been assigned to District .ludge Mariana R. Pfaelzer and the assigned
discovery Magistrate Judge is Carla Woehrle.

The case number on all documents filed with the Court should read as follows:

CV12- 10275 MRP (CWX)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

The United States District lodge assigned to this case will review all filed discovery
motions and thereafter, on a case-by-case or motion-by-motion basis, may refer
discovery related motions to the Magistrate Judge for hearing and determination

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on ali defendants (1'f a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [_] Southarn Divislon [_] Eastern Division
312 N. Sprlng St., Rm. G-B 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Rlverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-iB (031'06) NOT|CE OF ASS|GNMENT TO UNITED STATES MAG|STRATE JUDGE FOR D|SCOVERY

Case 2:12-cV-1O275-RGK-CW Document 3 Filed 12/05/12 Page 11 01 13 Page lD #:25

AO 440 (Rev. 061"12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

“1‘011 diliii:£ usE 0111.1/

 

 

 

JAMEY DEON J1MERsoN )
, an individual §
)
Plamny(s) )
v. § civil Action No.
Fss cARD sEvacE 1Nc., and ooEs1-10, ) 2 _ 1 U ?‘7` 5 [M€f’[w ‘P)

inclusivel ) C v 1 iq
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

TGZ (Dejimdanr’s name and address) FBS CARD SERVICE lNC
208 30 LASALLE ST. SU|TE 814
CHlCAGO, IL 60604

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff" s attorney,
whose name and address are: JAMEY DEON JlMERSON

1799 AL|CANTE ST

FOR OFl-'lcE 1135 0111:1

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must tile your answer or motion with the court.

 

Date: l g§§/ § 13 § 14

 

'“ __Case 2:12-0UMUEDS'RUEYC\I$TDGC`MH¥B CEM§B&Q/UILRICP§Q`§BLMW&Q€ |D #:26

 

(`.'IVIL COVER SHEET
l (a) PLAeINTIFFS (Check box if you are representing yourself El) DEFENBANTS
JAMEY DEON JIMERSON ` FBS CARD SERV]CE INC., a corporation, and DOES 1-10, inclusive,
, an individual

 

(h) Attomeys (Firm Name, Address and Telepht)ne Number. lt`you are representing Attomeys (If Known)

yourself, provide same_)
JAMEY DEON JIMERSON

1799 Alicanle SL Pomona., CA91768
Telephone: (909) 717-4503

 

 

I[. BASIS OF JURISDICI`ION (Plase an X in one box only.) IlI. CITIZENSH[F OF PR.[NCIPAL PAR'I`IES - For Divel'sity Cases Ooly
('Place an X in one box for plaintit]` and one for defendanl.)
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Govemment Not a Party) Citizen ofThis State l l:l l Incorporated or Principal Place l:l 4 l:| 4
of Business iothis State
l:l 2 U.S. Government Defenth l:l 4 Diversity (Indicate Citizeoship Citizen 01` Another State |Il 2 El 2 lncorporated and Principal Plat:e |Il 5 1!(5
of Parties in Item [1`1) of Business in Another State
Citizeo or Subject cfa Foreign Countty |Il 3 El 3 Foreign Nation |Il 6 l:l 6

 

 

[V. ORIG]N (Place an X in one box only.)

di Original El 2 Removed from l:l 3 Remanded from lIl 4 Re'mstated or El 5 Trtmsferred from another district (specify): El 6 Multi- lIl 7 Appeal to Distriet
Proceeding State Court Appellale Court Reopened District Judge from
Litigation Magistrale Judgc

 

v. REQUESTED IN comLAn~rr: .mnY r)EMANt)= E(Yee l:l Ne (clreelt ‘Yee’ enly if demanded in empln'nt)
llMoNEv oEMANDEl) rN coMPLAINT= s 1000-00

CLASS ACI'ION under F.R.C.P. 23: [:l Yes l{No

VI. CAUSE OF ACI'ION (Cite the U.S. Civil Staiute under which you are filing and write a brief statement of cause. Do not cite jurisdictional staunes unless diversity.)

15 U.S.C. § 1681

Vll. NATURF. 'oF sUIT (Plnee an X in one box only.)

 

 

 

 

 

 

 

 

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AFTER COMPLETING THE FRONT S[DE ()F FORM C`V -71, OOMPLETE THE INFORMATION REQUESTED BELOW.

 

CV-?l (057'08)

CIVIL COVER SHEET

Page 1 of2

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CIVlL COVER SHEET

VIII(a). IUENTICAL CASES: Has this action been previously filed in this court and dismissed remanded or closed? dNo l:l Yes
Ifyes, list case number(s):

 

VIII(b). RELATED CASES: Huvc any cases been previously filed in this court that are related to the present case? dNo lIl Yes
Ifyes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present user
(Check all boxes that apply) lIl A. An`sc from the same or closely related transactions, happening~;, or events; or
111 B. Call for determination of the same or substantially related or similar questions of law and fact; or
|Il C. For other reasons would entail substantial duplication of labor if heard by different judges', or
l:l D. Involve the same patan trademark or copyright, § one of` the factors identified above in a, b or c also is present

 

lX. VENUE: (thrt completing the following information, use an additional sheet ifoecessary.)
(a) List the Cotmty in this District; Calif`oroia County outside of this Districl; State if other than Calif`omia; or Forcign Country, in which EACH named plaintiff'resides.
l:l Check here if` thc government, its agencies or employees is a named plaintiff lfthis box is checked, go to item (l)).
County in this Diatricl:* Calit`omia County outside of this District; Statc, if` other than Califomia', or Forcign Country
LOS ANGELES COUNTY

 

 

 

 

(b) List the County in this Distn'ct; Calif`omia Couoty outside of this District; State if other than Cali.t`omia; or Forcign Country, in which EACH named defenth resides
|:| Check here if the government, its agencies or employees is a named defendant ff this box is checkcd, go to item (c).

County in this District:* Cal.i.‘f`omia Count'y outside of this District, State, if` other than Calif`omia;, or Foreigrl Country
COOK COUNTY

 

 

 

 

(c) List the County in this District; Califomia Oounty outside of this Distn`ct; State if other than Calif`ornia; or Foreign Country, in which EACH claim arose.
Note: in larl_d condemnation cases use the location of the tract oflrmd involved.
County in this District:* California County outside ufthis Dish'ict', State, if other than Califomia', or Foreign Country

LOS ANGELES COUNTY

 

 

 

 

 

 

  
  
 

* Los Angeles, Orangc, San Bemard`mo, Rlverside, Ventura, Santa

nm, or Stm Luis?spo Co\mties
Note: ll:r land condemnation cases use the location of the tract of land

olxdd

X. slGNATURE or A'l'roRNEY (oR PRo PER):W Date NOVEMBER 3012912

Noticle to Connsel/Pttrties: The CV-?l (JS-44) dd er Sheet and the information contained herein neither replace nor supplementthe filing and service of pleadings
or other papers as required by law. 'Ihis form, approved the .ludicial Cmf'erence of thc Uoited States in September 1974, isrequired pursuantto Local Rulc 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet ('For more detailed mstmctions, see separate instructions sheet)

 

Key to Statistical codes relating to Social Security Cases:
Naturle of Suit Code Allhreviation Substaot'ive Statcment of Cause of Action

861 HIA All claim for health insurance benefits (Medicarc) under Title 18, Part A, ot` the Social Security Aet, as amended
Also, include claims by hospitals, skilled nursing facilities, etc., for certificatitm as providers of` services under the

program (42 U.S.C. 19351"1"(11))

862 BL All claims for “Black Lung” benefits under Title 4, Pal't B, of` the Federal Coa] Mioe Health and Saf`ety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims liIed for child’s insurance benefits based on disability (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits bmed on disability under 'l‘itle 2 of the Social Security
Aet, as attended (42 U.s_c_ dos(g))

864 SSlD All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Soeial Security Act, as amended (42
U.s.c. (g))

 

Cv-71 (05/03) clvrl. Covnn sHEE'r Page 2 erz

